        Case 1:23-cv-01352-RP          Document 43        Filed 06/17/25   Page 1 of 4




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 SHAUNA WINKELMAN, MICHAEL                      )
 LENON, SCOTT CENNA, KALEA                      )
 NIXON, ROBERT GOLDORAZENA,                     )
 CHAD DIEHL and ROSS NANFELDT,                  )   CIVIL ACTION NO.: 1:23-cv-01352-RP
 individually and on behalf of all others       )
 similarly situated,                            )
                                                )
                                Plaintiffs,     )
                 v.                             )
                                                )
 WHOLE FOODS MARKET, INC., THE                  )
 BOARD OF DIRECTORS OF WHOLE                    )
 FOODS MARKET, INC., THE WHOLE                  )
 FOODS MARKET, INC. EMPLOYER                    )
 COMMITTEE, THE WHOLE FOODS                     )
 MARKET, INC. 401(K) COMMITTEE,                 )
 THE WHOLE FOODS MARKET, INC.                   )
 BENEFITS ADMINISTRATIVE                        )
 COMMITTEE and JOHN DOES 1-50.                  )
                                                )
                                Defendants.     )


                                  JOINT STATUS REPORT

       Plaintiffs, Shauna Winkelman, Michael Lenon, Scott Cenna, Kalea Nixon, Robert

Goldorazena, Chard Diehl, and Ross Nanfeldt, (collectively, “Plaintiffs”) and Defendants Whole

Foods Market, Inc., the Board of Directors of Whole Foods Market, Inc., the Whole Foods Market,

Inc. Employer Committee, the Whole Foods Market, Inc. 401(k) Committee (now known as the

Whole Foods Market, Inc. Retirement Committee), and the Whole Foods Market, Inc. Benefits

Administrative Committee (“Defendants”) (together with Plaintiffs, the “Parties”), by and through

their undersigned counsel, respectfully submit this Joint Status Report.
        Case 1:23-cv-01352-RP            Document 43         Filed 06/17/25     Page 2 of 4




       1.        As indicated in the Parties’ Joint Status Report filed April 17, 2025 (see ECF No.

42), the Parties participated in a full-day mediation session on April 16, 2025, before Robert A.

Meyer, Esquire, where they reached a settlement in principle.

       2.        The Parties have been working diligently to draft and finalize the settlement

agreement and exhibits and present it to the Court for preliminary approval. Plaintiffs had

anticipated filing an unopposed motion for preliminary approval of the settlement no later than

June 17, 2025.

       3.        The Parties have made significant progress but need additional time to complete

review and finalization of the settlement agreement and exhibits.

       4.        Accordingly, the Parties propose that the stay of this matter be extended to June 24,

2025, at which time the Plaintiffs will file their unopposed motion for preliminary approval.

 Dated: June 17, 2025

 By: /s/ Mark K. Gyandoh                               By: /s/ Stacey C.S. Cerrone
     Mark K. Gyandoh*                                      Stacey C.S. Cerrone*
     PA Attorney ID # 88587                                Louisiana Bar No. 25860
     James A. Wells*                                       Alex E. Hotard*
     PA Attorney ID # 83517                                Louisiana Bar No. 37732
     CAPOZZI ADLER, P.C.                                   JACKSON LEWIS P.C.
     312 Old Lancaster Road                                601 Poydras Street, Suite 1400
     Merion Station, PA 19066                              New Orleans, LA 70130
     Tel: 610-890-0200                                     Tel: 504-208-5827
     Fax: 717-233-4103                                     Fax: 504-208-1759
     Email: markg@capozziadler.com                         Email: Stacey.Cerrone@jacksonlewis.com
            jayw@capozziadler.com                                  Alex.Hotard@jacksonlewis.com
 * Admitted pro hac vice)                              *Admitted pro hac vice

      Peter A Muhic*                                       Lauren Hope Whiting
      PA Attorney ID # 73501                               Texas Bar No. 24084091
      MUHIC LAW LLC                                        JACKSON LEWIS P.C.
      923 Haddonfield Road                                 93 Red River St., Suite 1150
      Suite 300                                            Austin, Texas 78701
      Cherry Hill, NJ 08002                                PH: (512) 362-7100
      Tel: 856-324-8252                                    FX: (512) 362-5574
      Fax: 717-233-4103                                    Email: Lauren.Whiting@jacksonlewis.com
                                                   2
       Case 1:23-cv-01352-RP         Document 43          Filed 06/17/25     Page 3 of 4




     Email: peter@muhiclaw.com
                                                    Counsel for Defendants
* Admitted pro hac vice)

     Kell A. Simon
     Texas Attorney ID # 24060888
     LAW OFFICES OF KELL SIMON
     501 N. Interstate Highway 35, Suite 11
     Austin, Texas 78702
     Tel: 512-898-9019
     Fax: 512-368-9144
     Email: kell@kellsimonlaw.com

Counsel for Plaintiffs and the Putative Class




                                                3
        Case 1:23-cv-01352-RP        Document 43        Filed 06/17/25       Page 4 of 4




                               CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2025, a true and correct copy of the foregoing document

was filed with the Court utilizing its ECF system, which will send notice of such filing to all

counsel of record.

                                                   By: /s/ Mark K. Gyandoh
1




                                               4
